Case 8:23-ap-01046-SC    Doc 249 Filed 10/27/23 Entered 10/27/23 10:22:56       Desc
                          Main Document     Page 1 of 7



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3 Phone: 310-559-9224; Fax: 310-559-9133
4 Email: kmarch@BKYLAWFIRM.com
  Counsel ofRecord for Adv. Proc. Defendants
5 Han Trinh and Jayde Trinh
6
                    UNITED STATES BANKRUPTCY COURT
7             CENTRAL DISTRICT OF CALIFORNIA-SANTA ANA DIV.
 8
     In re                                       Bankruptcy Case No. 8:23-bk-10571-
 9                                               SC
10   THE LITIGATION PRACTICE                     Chapter 11
     GROUP, P.C.,                                Adversary Proceeding no.-8:23-ap-
11                                               01046-SC
12                          Debtor.
                                                  STIPULATION BETWEEN
13   RICHARD A. MARSHACK, Chapter 11              PLAINTIFF CHAPTER 11
14   Trustee,                                     TRUSTEE, RICHARD
                     Plaintiff,                   MARSHACK, AND ADVERSARY
15
                                                  PROCEEDING DEFENDANTS
16   V.
                                                  HAN AND JA YOE TRINH, TO
17   TONY DIAB, an individual; DANIEL S.          DISMISS HAN AND JAYDE
18   MARCH, an individual; ROSA BIANCA            TRINH, WITHOUT PREJUDICE,
     LOLI, an individual; LISA COHEN, an          FROM SECOND AMENDED
19   individual;WILLIAM TAYLOR CARSS,             COMPLAINT (FILED 10/13/23) IN
20   an individual; ENG TAING, an individual;
                                                  ADVERSARY PROCEEDING
     HENG TAING, an Individual; MARIA
21   EEYA TAN, an individual; JAKE AKERS,         8:23-ap-01046-SC
22   an individual; HAN TRINH, an
     individual; JAYDE TRINH, an individual       Next status conference is set for:
23   [and 34 additional defendants]               Date: November 16, 2023
24                                                Time: 11 :00 a.m.
                             Defendants.          Place: Courtroom of Bankruptcy
25
                                                  Judge Scott Clarkson, by zoom
26
27
28
     STIPULATION BETWEEN PLAINTIFF CHAPTER 11 TRUSTEE, RICHARD MARSHACK, AND
     ADVERSARY PROCEEDING DEFENDANTS HAN AND JA YDE TRINH, TO DISMISS HAN AND JA YDE
     TRINH, WITHOUT PREJUDICE, FROM TRUSTEE'S SECOND AMENDED COMPLAINT, FILED 10/13/23,
     IN ADVERSARY PROCEEDING 8:23-ap-01046-SC                                     1
Case 8:23-ap-01046-SC        Doc 249 Filed 10/27/23 Entered 10/27/23 10:22:56         Desc
                              Main Document     Page 2 of 7



 1
2
                                       STIPULATION
3
4             Plaintiff Chapter 11 Trustee, Richard A. Marshack, by his counsel of record,

5    and adversary proceeding defendants Han Trinh and Jayde Trinh, by their counsel of
6
     record, STIPULATE, by the signatures of their respective attorneys signed at the end
7
 8   hereof, as follows:

9             1.     Pursuant to this STIPULATION, Trustee Marshack dismisses
10
     defendants Han Trinh, and Jayde Trinh, without prejudice, from the SECOND
11
12   AMENDED COMPLAINT (filed by Trustee Marshack on 10113123) in this adversary

13   proceeding 8:23-ap-01046-SC. Each party shall bear their own attorneys' fees and
14
     costs.
15
16            2.    As ordered in the Order [dkt.219] entered 1015123, of Bankruptcy Judge

17   Scott Clarkson, notwithstanding their dismissal without prejudice, from this adversary
18
     proceeding, Han Trinh and Jayde Trinh shall remain bound by the previously entered
19
20   Preliminary Injunction [dkt.70, page 7, line 1 through page 9, line 23], and the Court

21   shall retain jurisdiction to enforce this Stipulation and the Preliminary Injunction.
22
              3.    The names of Han Trinh and Jayde Trinh shall be deleted from the
23
24   caption of adversary proceeding 8 :23-ap-0 1046-SC.

25   II
26
27
28
     STIPULATION BETWEEN PLAINTIFF CHAPTER 11 TRUSTEE, RICHARD MARSHACK, AND
     ADVERSARY PROCEEDING DEFENDANTS HAN AND JA YDE TRINH, TO DISMISS HAN AND JA YDE
     TRINH, WITHOUT PREJUDICE, FROM TRUSTEE'S SECOND AMENDED COMPLAINT, FILED 10/13/23,
     IN ADVERSARY PROCEEDING 8:23-ap-01046-SC                                    2
Case 8:23-ap-01046-SC        Doc 249 Filed 10/27/23 Entered 10/27/23 10:22:56          Desc
                              Main Document     Page 3 of 7



 1         4.       Counsel for Han and Jayde Trinh shall e-file this Stipulation with the
2
     Court, and shall e-lodge with the Court the (proposed) Stipulated Order that is
3
4    attached to this Stipulation as Exhibit A.

 5   THE FOREGOING IS STIPULATED TO, ON OCTOBER 26 ,2023, BY:
6
7
     Richard    AJ"? ~~h~ck, Chapter 11 Trustee, Plaintiff
 8 By the sig ature of Trustee's counsel of record in this adversary proceeding,
   Christopher Ghio, Esq., authorized to sign for Trustee
 9
10   and

11   Han
12
   By the signature of Defendants Han and Jayde Trinh's counsel of record,
13 in this adversary proceeding, The Bankruptcy Law Firm, PC, by
14 Kathleen P. March, Esq., authorized to sign for Han and Jayde Trinh

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     STIPULATION BETWEEN PLAINTIFF CHAPTER 11 TRUSTEE, RICHARD MARSHACK, AND
     ADVERSARY PROCEEDING DEFENDANTS HAN AND JA YDE TRINH, TO DISMISS HAN AND JA YOE
     TRINH, WITHOUT PREJUDICE, FROM TRUSTEE'S SECOND AMENDED COMPLAINT, FILED 10/13/23,
     IN ADVERSARY PROCEEDING 8:23-ap-01046-SC                                    3
Case 8:23-ap-01046-SC        Doc 249 Filed 10/27/23 Entered 10/27/23 10:22:56             Desc
                              Main Document     Page 4 of 7



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6
                      UNITED STATES BANKRUPTCY COURT
7               CENTRAL DISTRICT OF CALIFORNIA—SANTA ANA DIV.
8
      In re                                               Bankruptcy Case No. 8:23-bk-10571-
9                                                         SC
10    THE LITIGATION PRACTICE                             Chapter 11
      GROUP, P.C.,                                        Adversary Proceeding no. 8:23-ap-
11                                                        01046-SC
12                               Debtor.
                                                          (PROPOSED) STIPULATED
13    RICHARD A. MARSHACK, Chapter 11                     ORDER TO DISMISS HAN AND
14    Trustee,                                            JAYDE TRINH, WITHOUT
                      Plaintiff,                          PREJUDICE, FROM SECOND
15
      v.                                                  AMENDED COMPLAINT OF
16
                                                          TRUSTEE, FILED 10/13/23 IN
17    TONY DIAB, an individual; DANIEL S.                 ADVERSARY PROCEEDING
18    MARCH, an individual; ROSA BIANCA                   8:23-ap-01046-SC, BASED ON
      LOLI, an individual; LISA COHEN, an                 STIPULATION BETWEEN
19    individual; WILLIAM TAYLOR CARSS,                   PLAINTIFF CHAPTER 11
20    an individual; ENG TAING, an individual;
                                                          TRUSTEE, RICHARD
      HENG TAING, an Individual; MARIA
21    EEYA TAN, an individual; JAKE AKERS,                MARSHACK, AND ADVERSARY
22    an individual; HAN TRINH, an                        PROCEEDING DEFENDANTS
      individual; JAYDE TRINH, an individual              HAN AND JAYDE TRINH
23    [and 34 additional defendants]
24                                                        [No hearing item]
                                 Defendants.
25
26
                                                              EXHIBIT A
27
28
     ________________________________________________________________________________________________
     (PROPOSED) STIPULATED ORDER DISMISSING HAN AND JAYDE TRINH, WITHOUT PREJUDICE,
     FROM SECOND AMENDED COMPLAINT OF TRUSTEE, FILED 10/13/23 INADVERSARY PROCEEDING
     8:23-ap-01046-SC                                                                              1
 Case 8:23-ap-01046-SC       Doc 249 Filed 10/27/23 Entered 10/27/23 10:22:56             Desc
                              Main Document     Page 5 of 7



 1          Plaintiff Chapter 11 Trustee Richard A. Marshack, by his counsel of record, and
 2
     adversary proceeding defendants Han Trinh and Jayde Trinh, by their counsel of
 3
 4 record, having STIPULATED as follows, the Court hereby ORDERS:
 5          1.      Han Trinh and Jayde Trinh are dismissed, without prejudice, from the
 6
     Second Amended Complaint, filed by Trustee on 10/13/23, in adversary proceeding
 7
 8 8:23-ap-01046-SC. Each party shall bear their own attorneys’ fees and costs.
 9          2.     Han Trinh’s name, and Jayde Trinh’s name, shall be deleted from the
10
     caption of Trustee’s adversary proceeding 8:23-ap-01046-SC.
11
12          3.     This Court’s Order [dkt.219] entered 10/5/23, orders that Han Trinh and

13 Jayde Trinh shall remain bound by the Preliminary Injunction that is page 7, line 1,
14
   through page 9, line 23, of dkt.70, notwithstanding their dismissal, without prejudice,
15
16 from this adversary proceeding. The present dismissal does not affect this: Han Trinh
17 and Jayde Trinh shall continue to be bound by that Preliminary Injunction.
18
         4.     The Court shall retain jurisdiction to enforce this stipulation and the
19
20 Preliminary Injunction [dkt.70, page 7, line 1 through page 9, line 23).
21          IT IS SO ORDERED.
22
23
24                                                 ###
25
26
27
28
     ________________________________________________________________________________________________
     (PROPOSED) STIPULATED ORDER DISMISSING HAN AND JAYDE TRINH, WITHOUT PREJUDICE,
     FROM SECOND AMENDED COMPLAINT OF TRUSTEE, FILED 10/13/23 INADVERSARY PROCEEDING
     8:23-ap-01046-SC                                                                              2
        Case 8:23-ap-01046-SC                     Doc 249 Filed 10/27/23 Entered 10/27/23 10:22:56                                      Desc
                                                   Main Document     Page 6 of 7



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10524 W. Pico Blvd., Ste. 212, Los Angeles, CA 90064

A true and correct copy of the foregoing document entitled (specify): STIPULATION BETWEEN PLAINTIFF CHAPTER
11 TRUSTEE, RICHARD MARSHACK, AND ADVERSARY PROCEEDING DEFENDANTS HAN AND JAYDE TRINH,
TO DISMISS HAN AND JAYDE TRINH, WITHOUT PREJUDICE, FROM SECOND AMENDED COMPLAINT (FILED
10/13/23) IN ADVERSARY PROCEEDING 8:23-ap-01046-SC will be served or was served (a) on the judge in chambers
in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
___10/27/23___, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

See next page

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) ___10/27/23___, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

N/A
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ___10/27/23___, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

No judge’s copy required per General Order 23-01 because document is under 25 pages.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 10/27/23                       Kathleen P. March                                                /s/ Kathleen P. March
 Date                           Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:23-ap-01046-SC                     Doc 249 Filed 10/27/23 Entered 10/27/23 10:22:56                                      Desc
                                                   Main Document     Page 7 of 7


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

       Keith Barnett keith.barnett@troutman.com, kelley.wade@troutman.com
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       Andrew Still astill@swlaw.com, kcollins@swlaw.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
       Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
